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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                  4:10CR3052
                                              )
              v.                              )
                                              )
MY TAN CAO,                                   )       MEMORANDUM AND ORDER
                                              )
                     Defendant.               )

       The defendant has orally moved to continue trial because his attorney, Mr. London,
is unavailable on September 20, 2010, the current trial date. In addition, the trial of co-
defendant Da Van Cao is scheduled for November 8, 2010.


       IT IS ORDERED:
       1)     Defendant, My Tan Cao’s oral motion to continue is granted.

       2)     The trial of this case is set to commence before the district judge at 9:00 a.m.
              on November 8, 2010 for a duration of five days. Jury selection will be at the
              commencement of trial.

       3)     Based upon the showing set forth in the defendant’s oral motion and the
              representations of his counsel, the Court further finds that the ends of justice
              will be served by continuing the trial; and that the purposes served by
              continuing the trial date in this case outweigh the interest of the defendant and
              the public in a speedy trial. Accordingly, the time between today’s date and
              November 8, 2010 shall be excluded for speedy trial calculation purposes. 18
              U.S.C. § 3161(h)(7).

       DATED this 2 nd day of September, 2010.

                                             BY THE COURT:

                                             s/ Cheryl R. Zwart
                                             United States Magistrate Judge
